




















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-385-13






JASMINE MONIQUE STELLY, Appellant


									

v.



THE STATE OF TEXAS






ON STATE'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FOURTEENTH COURT OF APPEALS


HARRIS COUNTY






	Per curiam.


O P I N I O N 




	Appellant was convicted of assault on a public servant and sentenced to 5 years in
prison.  On appeal, she argued that the evidence was insufficient to support the $249 in court
costs assessed against her in the judgment.   The Court of Appeals agreed, relying on its own
opinion in Johnson v. State, 389 S.W.3d 513 (Tex. App. - Houston [14th Dist.] 2012).  Stelly
v. State, No. 14-12-00628-CR, 2013 Tex. App. LEXIS 1689 (Tex. App. - Houston [14th
Dist.] February 21, 2013) (not designated for publication).

	The State has filed a petition for discretionary review of this decision.  We recently
handed down our opinion in Johnson v. State, No. PD-0193-13, 2014 Tex. Crim. App.
LEXIS 240 (Tex. Crim. App. February 26, 2014), in which we set forth a roadmap for
resolving questions regarding court costs.  See also Cardenas v. State, No. PD-0733-13, 2014
Tex. Crim. App. LEXIS 236 (Tex. Crim. App. February 26, 2014).

	The Court of Appeals in the instant case did not have the benefit of our opinion in
Johnson.  Accordingly, we grant the State's petition for discretionary review, vacate the
judgment of the Court of Appeals, and remand this case to the Court of Appeals in light of
our opinion in Johnson. No motion for rehearing will be entertained.



DATE DELIVERED: April 16, 2014

					

DO NOT PUBLISH	

				


